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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

RAMONA THURMAN BIVINS,                        )
                                              )
      Plaintiff,                              )
                                              )
v.                                            )
                                              )
FELICIA FRANKLIN, in her individual           )     CIVIL ACTION FILE NO.:
and official capacities;                      )     1:22-cv-04149-WMR
ALIEKA ANDERSON, in her individual            )
and official capacities;                      )
GAIL HAMBRICK, in her individual              )
and official capacities; and                  )
CLAYTON COUNTY, GEORGIA,                      )
                                              )
      Defendants.                             )

DEFENDANT ALIEKA ANDERSON’S CERTIFICATE OF INTERESTED
                      PERSONS
        AND CORPORATE DISCLOSURE STATEMENT

      COMES NOW, pursuant to Federal Rule 7.1 and Local Rule 3.3, Defendant

Alieka Anderson in the above-styled action, and submits her Certificate of

Interested Persons and Corporate Disclosure Statement:

      (1) The undersigned counsel of record to this action certifies that the

         following is a full and complete list of all parties in this action, including

         any parent corporation and any publicly held corporation that owns 10%

         or more of the stock of a party:
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      a) Defendant Alieka Anderson

      b) Defendant Felicia Franklin

      c) Defendant Gail Hambrick

      d) Defendant Clayton County, Georgia

      e) Plaintiff Ramona Bivins

       (2) The undersigned further certifies that the following is a full and

complete list of all other persons, associations, firms, partnerships, or corporations

having either a financial interest in or other interest which could be substantially

affected by the outcome of this particular case:

      a) None beside the parties.

      (3) The undersigned further certifies that the following is a full and complete

list of all persons serving as attorneys for the parties in this proceeding:

      a) Randall C. Farmer– Counsel for Defendant Alieka Anderson;

      b) Kirsten S. Daughdril – Counsel for Defendants Clayton County, Georgia

      and Gail Hambrick;

      c) Arash A. Sabzevari – Counsel for Defendants Clayton County, Georgia

      and Gail Hambrick;

      d) Jack R. Hancock – Counsel for Defendants Clayton County, Georgia and

      Gail Hambrick;


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     e) Melissa A. Tracy – Counsel for Defendant Felicia Franklin

     f) Edward D. Buckley – Counsel for Plaintiff;

     g) Andrew R. Tate – Counsel for Plaintiff.

     This 29th day of November, 2022.

                          Respectfully submitted,

                          GREGORY, DOYLE, CALHOUN & ROGERS, LLC
                          Attorneys for Defendant

                          /s/ Randall C. Farmer
                          Randall C. Farmer
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                        CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing was prepared using Times New Roman

font, 14-point type, which is one of the font and print selections approved by the

Court in L.R. 5.1(B).

      This 29th day of November, 2022.

                           GREGORY, DOYLE, CALHOUN & ROGERS, LLC
                           Attorneys for Defendant

                           /s/ Randall C. Farmer
                           Randall C. Farmer
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                         CERTIFICATE OF SERVICE

      I hereby certify that on the 29th day of November, 2022, I electronically filed

the foregoing DEFENDANT ALIEKA ANDERSON’S CERTIFICATE OF

INTERESTED           PERSONS         AND        CORPORATE           DISCLOSURE

STATEMENT using CM/ECF, which will automatically send email notification

of such filing to the following counsel of record:

        Edward D. Buckley                              Kirsten S. Daughdril
          Andrew R. Tate                                 A. Ali Sabzevari
        Buckley Beale LLP                                Jack R. Hancock
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                            GREGORY, DOYLE, CALHOUN & ROGERS, LLC
                            Attorneys for Defendant Alieka Anderson

                            /s/ Randall C. Farmer
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